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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO                    ,, .
                                     WESTERN DIVISION                          JUDGE ZOUHARY
UNITED STATES OF AMERICA,                            INDICTMEN           tMAG judge clay
               Plaintiff,

                                                     CASE NO.
                                                                Title 18, United States Code,
FRANKLIN CALIX-ROMERO,                                          Sections                924(a)(8)

               Defendant.                                              f'fS 05
                                            count 1
     (Possession of a Firearm by a Prohibited Person, 18 U.S.C. §§ 922(g)(^ and 924(9)(8))
The Grand Jury charges:

        1.     On or about January 17, 2025, in the Northern District of Ohio, Western Division,

the defendant FRANKLIN CALIX-ROMERO, a citizen of Honduras, knowing he was an alien

illegally and unlawfully in the United States, did knowingly possess in and affecting interstate

commerce a firearm and ammunition, to wit: a Ruger 9mm semiautomatic pistol bearing serial

number 336-06346 and 9mm ammunition, said firearm and ammunition having been shipped and

transported in interstate commerce, in violation of Title 18, United States Code Sections

922(g)(5) and 924(a)(8).

                                             FORFEITURE


The Grand Jury further charges:

       2.      The allegation of Count 1 is hereby realleged and incorporated herein by

reference for the purpose of alleging forfeiture pursuant to Title 18, United States Code, Section

924(d)(1), and Title 28, United States Code, Section 2461(c). As a result of the foregoing
offense. Defendant FRANKLIN CALIX-ROMERO shall forfeit to the United States any and all
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